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                                                                              United States District Court
                                                                                Southern District of Texas

                                                                                   ENTERED
                                                                                November 16, 2018
                         UNITED STATES DISTRICT COURT
                                                                                David J. Bradley, Clerk
                          SOUTHERN DISTRICT OF TEXAS
                            CORPUS CHRISTI DIVISION

IQBAL HOSSAIN,                               §
                                             §
        Plaintiff,                           §
VS.                                          §   CIVIL ACTION NO. 2:18-CV-261
                                             §
AECOM, et al,                                §
                                             §
        Defendants.                          §

                                  FINAL JUDGMENT

       Pursuant to the parties’ Stipulation of Dismissal with Prejudice (D.E. 6), the Court

enters final judgment dismissing this action with prejudice.

       ORDERED this 16th day of November, 2018.


                                             ___________________________________
                                             NELVA GONZALES RAMOS
                                             UNITED STATES DISTRICT JUDGE




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